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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )        Case Number: 23-13209
Metropolitan Brewing, LLC                     )
                                              )             Chapter: 11
                                              )
                                              )                      Honorable Deborah L. Thorne
                                              )
               Debtor(s)                      )

  INTERIM ORDER (1) AUTHORIZING USE OF CASH COLLATERAL; (2) SCHEDULING
               FINAL HEARING; AND (3) FOR RELATED RELIEF

        The Court having held a hearing (“Interim Hearing”) on the Debtor's Motion Pursuant to
Sections 361 and 363 of the Bankruptcy Code and Bankruptcy Rule 4001 for Interim Order (1)
Authorizing Use of Cash Collateral; (2) Scheduling Final Hearing; and (3) for Related Relief (Dkt. No.
5; the “Motion”), and it appearing that this Court has jurisdiction over this matter pursuant to 28 U.S.C.
§ 1334; and it appearing that this proceeding is a core proceeding pursuant to 28 U.S.C. § 157(b); and it
appearing that venue of this proceeding is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and it
appearing, in light of the facts, that creditors Live Oak Banking Company and PNC Bank, National
Association are being adequately protected pursuant to Sections 361 and 363 of the Bankruptcy Code;
and it appearing, in light of the facts, that sections 361 and 363 of the Bankruptcy Code and Bankruptcy
Rule 4001 provide bases for granting the requested relief; and no party having objected to entry hereof
on an interim basis at the Interim Hearing; it is hereby ORDERED that:

  1. The Court authorizes the Interim Hearing and approves the fact that the Motion was heard on an
emergency basis at the Interim Hearing.

   2. The Motion is granted as set forth herein. The Court authorizes the Debtor to use Cash Collateral
pending a final hearing on the Motion for the disbursements set forth in the budget attached hereto as
Annex 1 (the “Budget”). The Debtor shall be authorized to use Cash Collateral exclusively for
disbursements to the extent and in the amounts set forth in the Budget (plus up to 15% more than a
particular corresponding “category” in the Budget (e.g., “rent,” “phone,” or “utilities”), provided that
Cash Collateral is available. In the event that Live Oak consents, in writing, to the use of its Cash
Collateral in a manner or amount which does not conform to the Budget (such use of Cash Collateral, a
“Non-Conforming Use”), the Debtor shall be authorized pursuant to this Interim Order to expend Cash
Collateral for such Non-Conforming Use without further Court approval, provided that notice of the
proposed modification is provided in advance to the Subchapter V Trustee and the United States
Trustee. The Debtor is also authorized to pay pre-petition insurance premiums, including pre-petition
amounts, that come due prior to the Final Hearing to avoid irreparable harm.

  3. For the avoidance of doubt, and to the extent it could be viewed as a use of cash collateral, the
Debtor may, in the ordinary course of business, continue to pay out pooled tips to its hourly tap room
employees who share in such tips, as described in the Debtor’s motion to pay employee wages (Docket
No. 6).

  4. As adequate protection for the Debtor’s use of Cash Collateral hereunder, each of Live Oak and
PNC, to secure payment of an amount equal to any diminution in the value of their respective collateral,
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are hereby granted the Replacement Liens (as defined in the Motion); provided, however, that the
Replacement Liens shall not apply to any funds held, or required to be held, in trust by the Debtor for
the benefit of Conrad Seipp Brewing Company pursuant to the written agreement between the Debtor
and Siepp (the “Seipp Lien Carve-Out”). The Debtor shall also within fourteen (14) days of the end of
each month, provide Live Oak, PNC and the Subchapter V Trustee with an “actual to budget”
reconciliation of all inflows and expenses listed in the Budget for the preceding month.
5. As additional adequate protection for the Debtor’s use of Cash Collateral hereunder, Live Oak, to
secure payment of an amount equal to any diminution in the value of its collateral, is hereby granted the
Additional Money Market Lien (as defined in the Motion) subject, to the extent applicable, to the Seipp
Lien Carveout. In addition, the Debtor will make an interest only adequate protection payment to Live
Oak in the amount of $4,206.52 (approximately 8.5%) in October, 2023.

   6. The final hearing on this Motion shall be set for November 1, 2023 at 10:45 a.m. Any objections
to the Motion shall be filed no later than the fourth business day prior to the hearing.

   7. The Debtor shall serve a copy of this signed Interim Order by first class mail upon all parties that
have filed UCC-1 financing statements against the Debtor, the United States Trustee, the Debtor’s
twenty largest creditors, the Subchapter V Trustee, and any party having filed a request to receive
service in this Chapter 11 Case, which shall constitute sufficient notice of the final hearing on this
Motion under Rule 4001 of the Bankruptcy Rules.

                                                            Enter:


                                                                     Honorable Deborah L. Thorne
Dated:October 6, 2023                                                United States Bankruptcy Judge

Prepared by:
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                                                Oct. 20231         Nov. 2023
Beginning Cash
Operating                                           $27,218.00        $44,714.77
Money Market                                        $63,755.00        $63,755.00
All Accounts                                        $90,973.00       $108,469.77

tap room recepts                                   $186,000.00       $107,000.00
distro receipts                                     $20,000.00        $25,000.00
gross receipts                                     $206,000.00       $132,000.00

fixed costs
debt (includes interest expense)                     $4,206.00             $0.00
rent                                                $24,886.93        $24,886.93
insurance                                            $4,500.00         $5,650.00
IRA Contributions                                    $1,200.00         $1,000.00
employee payroll (gross)                            $30,000.00        $30,000.00
mgmt payroll                                         $9,000.00         $9,000.00
payroll taxes                                        $3,780.00         $3,780.00
excise taxes                                         $3,000.00             $0.00

variable costs
sales taxes                                         $14,530.30        $15,252.00
COGS                                                $82,400.00        $52,800.00
Professional Fees                                        $0.00         $2,000.00
advertising & marketing                              $4,000.00         $4,000.00
Miscellaneous                                        $2,000.00         $2,000.00
repairs, maintenance, office                         $5,000.00         $4,000.00
total expenses                                     $188,503.23       $154,368.93


Net Operating Income                                $17,496.77       -$22,368.93

Ending Cash Operating2                              $44,714.77        $22,345.84
Ending Cash Money Market                            $63,755.00        $63,755.00
Total Ending Cash                                  $108,469.77        $86,100.84

1. Projection for October 3-31, 2023 (post-petition period).
2. Only possible lien(s) would be on cash in operating account.
